              Case
               Case3:20-cv-00187-VAB
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                      UNITED STATES DISTRICT COURT
                                            for the
                                   District of Connecticut


Equal Employment Opportunity Commiss
                   Plaintiff
                                                       Case No.       3:20-cv-00187-VAB
                      v.

       Yale New Haven Hospital, Inc.
                 Defendant


         Identification of Initial Discovery Protocol for Employment Cases

To:     The Clerk of Court and all parties of record

                   The Initial Discovery Protocol does apply to this case.

                   The Initial Discovery Protocol does not apply to this case.




      Date:       02/11/2020                                /s/ Markus L Penzel

                                                                Attorney's signature

                                                         Markus L. Penzel ct03381
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